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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________
ANDREA TROIANI,
                       Plaintiff,                                                No. ______________

-against-                                                                        COMPLAINT

CREDIT CONTROL, LLC,

                       Defendant.
_______________________________________

                                                      I. Introduction

       1.      This is an action for damages brought by an individual consumer for the

violation by Defendant Credit Control, LLC of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692, et seq., (hereinafter “FDCPA”), which prohibits debt collectors from

engaging in abusive, deceptive and unfair practices. The debt sought to be collected by

Credit Control, LLC was an alleged consumer credit debt of Andrea Troiani to pay

money arising out of a transaction in which the money, property, insurance or services

which were the subject of the transaction were primarily for personal, family, or

household purposes.

                                   II.        JURISDICTION AND VENUE

       2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1331. Venue in this District is proper in that the Defendant transacts business here and

the conduct complained of occurred here.

                                                    III.      PARTIES

       3.      Plaintiff	  Andrea	  Troiani	  (“Troiani”)	  is	  a	  natural	  person	  residing	  in	  the	  

County	  of	  Monroe	  at	  5	  Holley	  Creek,	  Pittsford,	  New	  York	  14534.

       4.      Upon information and belief, Defendant, Credit Control, LLC, is a foreign
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limited liability company organized under the laws of Missouri engaged in the business

of collecting debts in New York State and elsewhere and is authorized to do business in

this state, and has an address for service at c/o	  Corporation	  System,	  111	  Eighth	  Avenue,	  

New	  York,	  New	  York	  10011.

       5.     Credit Control is a debt collector as defined by FDCPA, 15 U.S.C. § 1692a(6),

as a person who uses one or more instrumentalities of interstate commerce or the mails in

any business the principal purpose of which is the collection of any debts, and who

regularly collect or attempt to collect, directly or indirectly, debts owed or due or asserted

to be owed or due another.

       6.     Troiani qualifies for purposes of this action as an individual consumer

pursuant to the FDCPA, i.e., a natural person allegedly obligated to pay any debt.

                                 IV.     FACTUAL ALLEGATIONS

       7.     In March of 2015 Troiani received a collection letter from Credit Control

dated March 2, 2015, attempting to collect a debt allegedly owed by Troiani on a

Bloomingdale’s account as the collection agency for “DSNB” (see March 2, 2015

collection letter, attached as Exhibit A).

       8.     The March 2, 2015 collection letter set forth the following language advising

Troiani that she could dispute the validity of the alleged debt:

       Unless you notify this office within 30 days after receiving this notice that you
       dispute the validity of this debt or any portion thereof, this office will assume this
       debt is valid. If you notify this office in writing within 30 days after receiving this
       notice, this office will: obtain verification of the debt or obtain a copy of a
       judgment and mail you a copy of such judgment or verification. If you request this
       office in writing within 30 days after receiving this notice, this office will provide
       you with the name and address of the original creditor, if different from the current
       creditor.

       9.     In response to the March 2, 2015 collection letter, Troiani sent Credit Control


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a dispute letter dated March 16, 2015 seeking verification of the alleged debt as well as

the name and address of the original creditor. Troiani’s dispute letter specifically

requested the name and address of the original creditor and stated that the debt was

disputed. Such dispute letter was mailed by USPS first class mail, certified, on March 17,

2015, and delivered to Credit Control on March 20, 2015. Therefore, the dispute letter

was sent and received well within the 30-day time period set forth in the collection letter.

       10.   Because Troiani duly disputed and asked for the name and address of the

original credit on the alleged debt on which Credit Control was attempting to collect,

Credit Control was required pursuant to 15 USC § 1692g(b) to cease collection of the

debt until it mailed to Troiani verification of the debt as well as the name and address of

the original creditor on the debt.

       11.   Troiani never received by mail from Credit Control any verification of the

debt or the name and address of the original creditor. In fact, Troiani never received any

further mail from Credit Control after the initial March 2, 2015 collection letter.

       12.   Despite the requirement under 15 USC § 1692g(b) that Credit Control cease

collection until it provided verification and the name and address of the original creditor,

Credit Control instead actively attempted to collect the debt from Troiani after receiving

her dispute letter without providing verification or the original creditor’s name and

address.

       13.   Credit Control repeatedly made collection calls to Troiani’s telephone number

and left messages on her answering machine, including but not limited to collection calls

made to Troiani by Credit Control on March 27, 2015, March 30, 2015, March 31, 2015,

April 24, 2015, April 25, 2014, May 8, 2015, June 15, 2015, June 17 2015, June 18, 2015




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and June 19, 2015.

                                      V. CLAIM FOR RELIEF

       14.   Troiani repeats and realleges and incorporates by reference the above

paragraphs of the Complaint.

       15.   By failing to cease collection of the debt, Credit Control violated § 1692g(b)

of the FDCPA, which provides in relevant part:

       If the consumer notifies the debt collector in writing within the thirty-day period
       described in subsection (a) of this section that the debt, or any portion thereof, is
       disputed, or that the consumer requests the name and address of the original
       creditor, the debt collector shall cease collection of the debt, or any disputed portion
       thereof, until the debt collector obtains verification of the debt or a copy of a
       judgment, or the name and address of the original creditor, and a copy of such
       verification or judgment, or name and address of the original creditor, is mailed to
       the consumer by the debt collector.

       16.   By repeatedly causing Troiani’s telephone to ring even and leaving debt

collection messages, even though Credit Control should have ceased collection of the

debt until it complied with § 1692g(b), Credit Control clearly engaged in conduct the

natural consequence of which was to harass, oppress or abuse Troiani in connection with

the collection of a debt. As a result, Credit Control violated the general proscription set

forth in 15 USC § 1692d, as well as the specific proscription set forth in § 1692d(5),

which in relevant part are as follows:

       A debt collector may not engage in any conduct the natural consequence of which
       is to harass, oppress, or abuse any person in connection with the collection of a debt.
       Without limiting the general application of the foregoing, the following conduct is a
       violation of this section:
              (5) Causing a telephone to ring . . . repeatedly or continuously with intent to
              annoy, abuse, or harass any person at the called number.

       17.   As a result of the above violations of the FDCPA, Credit Control is liable to

Troiani for her actual damages, including but not limited to emotional distress, statutory




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damages, and costs and attorney fees for prosecuting this action.

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A. Actual damages for emotional distress.

       B. Statutory damages pursuant to 15 U.S.C. § 1692k.

       C. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

       E. For such other and further relief as may be just and proper.

Dated: June 29, 2015
                                             Respectfully submitted,

                                             s/David M. Kaplan
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